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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                      Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
                 v.

  FACEBOOK, INC.,

                      Defendant.


                                    [PROPOSED] STIPULATED ORDER

          Upon consideration of the parties’ Joint Motion for Entry of Stipulated Order, it is

hereby:

          ORDERED that the Federal Trade Commission (“FTC”) may file a Substitute Amended

Complaint, nunc pro tunc, without impacting any deadlines currently set by the Court; and it is

further

          ORDERED that the FTC shall file with the Court, within one calendar day, a wholly

unredacted version of the Substitute Amended Complaint under seal; and it is further

          ORDERED that the FTC may include in its Substitute Amended Complaint certain

language that it has identified to Facebook, Inc. from the document bearing Bates numbers

FB_FTC_CID_02010030-035 (“Disclosed Language”); and it is further

          ORDERED that the inclusion of the Disclosed Language is for purposes of the

Substitute Amended Complaint only and, except for permitting the FTC and the Court to review

and rely upon the Disclosed Language, does not waive any privilege or protection applicable to

the underlying document (or similar documents) in the litigation pending before the Court or in
         Case
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any other federal, state, or other proceeding, nor does it waive the privilege as to information

related to the same subject matter as the Disclosed Language; and it is further

       ORDERED that the FTC does not waive any ability to challenge any privilege or

protection asserted as to the underlying document (or similar documents); and it is further

       ORDERED that the FTC shall treat the Disclosed Language as confidential, and shall

redact it in the version of the Substitute Amended Complaint filed on the public docket.

       IT IS SO ORDERED.



DATED: _____September 8, 2021                                 ________________________
                                                              Honorable James E. Boasberg
                                                              United States District Judge




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                         NAMES OF PERSONS TO BE SERVED

Daniel Matheson, Esq.
Federal Trade Commission
Bureau of Competition
400 7th Street, S.W.
Washington, DC 20024
Telephone: (202) 326-2075
Email: dmatheson@ftc.gov

Counsel for Plaintiff Federal Trade Commission

Mark Hansen, Esq.
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, N.W.
Washington, D.C. 20036
Mhansen@kellogghansen.com
(202) 326-7904

Counsel for Facebook, Inc.




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